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 4                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 5                                       AT SEATTLE

 6   UNITED STATES OF AMERICA,

 7                                 Plaintiff,            CASE NO. MJ 15-174

 8           v.
                                                         DETENTION ORDER
 9   ARNOLDO TERAN-RUIZ,

10                                 Defendant.

11

12   Offense charged:      Possession of Methamphetamine with Intent to Distribute

13   Date of Detention Hearing:    April 28, 2015.

14           The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

15   based upon the factual findings and statement of reasons for detention hereafter set forth, finds

16   that no condition or combination of conditions which defendant can meet will reasonably assure

17   the appearance of defendant as required and the safety of other persons and the community.

18            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

19           1.     Defendant is reportedly a citizen of Mexico.

20           2.     The United States alleges that his presence in this country is illegal. There is an

21   immigration detainer pending against him. The issue of detention in this case is therefore

22   essentially moot, as the defendant would be released to immigration custody if not detained in

23   this case.

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 1          3.      Defendant and his counsel offer no opposition to entry of an order of detention.

 2          4.      Upon advice of counsel, defendant declined to be interviewed by Pretrial

 3   Services. Therefore, there is limited information available about him.

 4          5.      There does not appear to be any condition or combination of conditions that will

 5   reasonably assure the defendant’s appearance at future Court hearings while addressing the

 6   danger to other persons or the community.

 7   It is therefore ORDERED:

 8      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

 9          General for confinement in a correction facility separate, to the extent practicable, from

10          persons awaiting or serving sentences or being held in custody pending appeal;

11      2. Defendant shall be afforded reasonable opportunity for private consultation with counsel;

12      3. On order of the United States or on request of an attorney for the Government, the person

13          in charge of the corrections facility in which defendant is confined shall deliver the

14          defendant to a United States Marshal for the purpose of an appearance in connection with

15          a court proceeding; and

16      4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel for

17          the defendant, to the United States Marshal, and to the United State Pretrial Services

18          Officer.

19          DATED this 28th day of April, 2015.

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21                                                       A
                                                         Mary Alice Theiler
22                                                       United States Magistrate Judge

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